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                        Exhibit 2
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                                                                 Page 1

1    UNITED STATES DISTRICT COURT
2    SOUTHERN DISTRICT OF NEW YORK
3    Case No. 1:18-CF-05025-JMF
4    -----------------------------------x
     NEW YORK IMMIGRATION COALITION, ET AL.,
5
                    Plaintiffs,
6
7
             - against -
8
9
     UNITED STATES DEPARTMENT OF COMMERCE,
10   ET AL.,
11            Defendants.
     -----------------------------------x
12                August 24, 2018         *OREDO
                  9:07 a.m.               REMHFWLRQ
13                                         
14
15        Videotaped Deposition of WENDY
16   TERAMOTO, taken by Plaintiffs, pursuant to
17   Notice, held at the offices of Arnold &
18   Porter Kaye Scholer LLP, 250 West 55th
19   Street, New York, New York, before Todd
20   DeSimone, a Registered Professional
21   Reporter and Notary Public of the State of
22   New York.
23             VERITEXT LEGAL SOLUTIONS
                 MID-ATLANTIC REGION


                REDACTED
24

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           REDACTED
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                                                                  Page 2

1    A P P E A R A N C E S:
2    ARNOLD & PORTER KAYE SCHOLER LLP

3    REDACTED
             Attorneys for New York Immigration
4            Coalition, CASA De Maryland,
             American-Arab Anti-Discrimination
5            Committee, ADC Research Institute and
             Make the Road New York
6    BY:     DAVID GERSCH, ESQ.
            REDACTED
7            DYLAN SCOT YOUNG, ESQ.
           REDACTED
8            CHASE R. RAINES, ESQ. (Via Phone)

 9       REDACTED
10
     AMERICAN CIVIL LIBERTIES UNION


     REDACTED
11

12
             Attorneys for New York Immigration
13           Coalition
     BY:     DALE HO, ESQ.

           REDACTED
14
15
16
     COVINGTON & BURLINGTON LLP

     REDACTED
17

18           Attorneys for Kravitz Plaintiffs
     BY:     DANIEL T. GRANT, ESQ.
19
20          REDACTED
21
     DANIELS WOLIVER KELLEY


     REDACTED
22

23
              Attorneys for Los Angeles Unified
24            School District
     BY:      KEITH YEOMANS, ESQ. (Via Phone)
25
             REDACTED

           REDACTED
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                                                                  Page 3

1    A P P E A R A N C E S: (Continued)
2    MALDEF

3    REDACTED
            Attorneys for LUPE Plaintiffs
4    BY:    DENISE HULETT, ESQ.
           REDACTED
5           JULIA GOMEZ, ESQ.
           REDACTED
6            ANDREA SENTENO, ESQ. (Via Phone)
           REDACTED
7
8
     ASIAN AMERICANS ADVANCING JUSTICE


     REDACTED
9

10
             Attorneys for LUPE Plaintiffs
11   BY:     NIYATI SHAH, ESQ. (Via Phone)

12
13
           REDACTED
14
     MANATT, PHELPS & PHILLIPS LLP

     REDACTED
15

16           Attorneys for City of San Jose & Black
             Alliance for Just Immigration
17   BY:     ANDREW CASE, ESQ.
            REDACTED
18
19
20   LAWYERS COMMITTEE FOR CIVIL
     RIGHTS UNDER LAW


     REDACTED
21

22
             Attorneys for City of San Jose & Black
23           Alliance for Just Immigration
     BY:     EZRA ROSENBERG, ESQ.
24
25         REDACTED

           REDACTED
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1    A P P E A R A N C E S: (Continued)
2    STATE OF CALIFORNIA
     DEPARTMENT OF JUSTICE
3    OFFICE OF THE ATTORNEY GENERAL

4

5
     REDACTED  Attorneys for State of California
      BY:      GABRIELLE BOUTIN, ESQ.
6            REDACTED
               MATTHEW WISE, ESQ. (Via Phone)

             REDACTED
7
8
     STATE OF NEW YORK
9    OFFICE OF THE ATTORNEY GENERAL

10   REDACTED
             Attorneys for State of New York
11   BY:     ELENA GOLDSTEIN, ESQ.
            REDACTED
12           MATTHEW COLANGELO, ESQ.
            REDACTED
13           ALEX W. FINKELSTEIN, ESQ.

14          REDACTED
15
16   U.S. DEPARTMENT OF JUSTICE

17   REDACTED
        Attorneys for      Defendants
18   BY:     CARLOTTA WELLS, ESQ.
            REDACTED
19           KATE BAILEY, ESQ.

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            REDACTED
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1    A P P E A R A N C E S: (Continued)
2    U.S. DEPARTMENT OF COMMERCE


3    REDACTED
             Attorneys for Defendants
4    BY:     MICHAEL J. WALSH, JR., ESQ.

            REDACTED
5            DAVID M.S. DEWHIRST, ESQ.

            REDACTED
6
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8
9    ALSO PRESENT:
10      CARLOS KING, Videographer
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3    WITNESS              EXAMINATION BY                       PAGE
4    TERAMOTO             GERSCH                                  9
                          GOMEZ                                 142
5                         CASE                                  170
                          WELLS                                 241
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7
                    E X H I B I T S
8
     TERAMOTO            DESCRIPTION                           PAGE
9    Exhibit 1         Bates 001321                              23
     Exhibit 2         Bates 0003699                             28
10   Exhibit 3         Bates 000763-000764                       38
     Exhibit 4         Bates 0002461                             49
11   Exhibit 5         Bates 0001411-0001412                     58
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12   Exhibit 7         Bates 0002458                             67
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15   Exhibit 13        Bates 0003694                            195
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16   Exhibit 15        Prepared Statement of                    205
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18   Exhibit      18   Bates 0002160-0002162                    221
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19   Exhibit      20   Bates 0002525                            226
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1    DIRECTIONS NOT TO ANSWER
2    Page           Line
     72             1
3    72             13
     81             11
4    114            16
5
6    REQUESTS
7    Page           Line
           (NONE)
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1                       THE VIDEOGRAPHER: Good morning.
2    We are going on the record at 9:07 a.m. on
3    August 24th, 2018.
4                       Please note that the
5    microphones are sensitive and may pick up
6    whispering, private conversations and
7    cellular interference.                 Please turn off all
8    cell phones or place them away from the
9    microphones as they can interfere with the
10   deposition audio.              Audio and video
11   recording will continue to take place
12   unless all parties agree to go off the
13   record.
14                      This is media unit number one
15   of the video-recorded deposition of Wendy
16   Teramoto taken by counsel for plaintiffs in
17   the matter of New York Immigration
18   Coalition, et al., versus United States
19   Department of Commerce, et al., filed in
20   the United States District Court, Southern
21   District of New York, case number
22   1:18-CF-05025-JMF.              This deposition is
23   being held at the offices of Arnold &
24   Porter located at 250 West 55th Street, New
25   York, New York.



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1                        My name is Carlos King from the
2     firm of Veritext and I am the videographer.
3     The court reporter is Todd DeSimone also
4     from Veritext.           I'm not authorized to
5     administer an oath, I'm not related to any
6     party in this action, nor am I financially
7     interested in the outcome.
8                        All appearances will be noted
9     on the steno record.               Will the court
10    reporter please swear in the witness.
11            *     *     *
12    W E N D Y          T E R A M O T O,
13    called as a witness, having been first duly
14    sworn, was examined and testified
15    as follows:




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                                                                                   Page 29

1     that      she    appears             to    be    forwarding             is    headed

2     Original         Message             from       Wilbur          Ross    to    Earl

3     Comstock         and       Ellen          Herbst.

4                            You          see    that,       right?

5               A.           Correct.                 I'm    not       on    the

6     original         e-mail.

7               Q            Correct.

8                            And          then       Secretary          Ross       has

9     written         "Worst          of       all,    they' emphasize               they

10    have      settled          with          Congress          on    the    questions

11    to   be       asked.        I       am    mystified             why    nothing

12    have      been       done       in       response          to    my    months      old

13    request         that       we       include          the    citizenship

14    question.             Why       not?"

15                           All          right,       this       question

16    appears         to    have          been       forwarded          to    you    May

17    2nd,      2017.        Do       you       remember          that?

18              A.           I    don't          -     I    don't       remember

19    receiving

20              Q.           Do       you       deny       receiving          it?

21              A.           No.

22              Q.           And          then       above       the    forwarding

23    part,         there    is       a    message          that       says       "Wendy

24    Teramoto         wrote:              I    continue          to    talk

25    frequently            with          Marc       Neumann          and    we    often




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                                                                                    Page 30

1     have       dinner          together.              He    will       not       leave

2     les,       but       is    in    love       with       the    census          and

3     talks       about          it, nonstop.                Do    you       want    me    to

4     set    up       another          meeting?              Let    me       know    if    you

5     want       to    have       a    drink       or    get       together          over

6     the    weekend. "

7                                Then    Secretary                Ross       has    written

8     in    response             to    you, "Let's                try    to    stick       him

9     in    there          for    a    few       days    to       fact -find. "

10                               Do    you       see    that?

11               A.              Yes,    sir.

12               Q.              So    you       would       have       received          this

13    at    the       beginning          of       May,       and    the       message

14    that (is         forwarded             to    you       has    Secretary             Ross

15    complaining                that    nothing             has    been       done       in

16    response             to    his    months -old               request          that    we

17    include          a    citizenship                question.

18                               Does    this          help       you    remember

19    that       you       had    some       involvement                in    getting

20    the    citizenship                question             on    the       census?

21               A.              No.

22                               MS.    WELLS:           Objection             to    form.

23               A.              Well,       wait ra- minute.                  First       of

24    all,       this       is    --    this       is    two       sentences          out

25    of    an    e-mail          that       I    have       no    idea       what    else




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                                                                                         Page 31

1     was    said.        It       is    titled              Census.

2                             So    this          has              I    mean,          just




                                                        le
3     because,          you    know,          for       you        to       imply       that

4     because       I    had       suggested                 he    set       up    a    meeting

5     or    talk    to    somebody                who        worked          on    the

6     transition          team          for       census           has       nothing          to

7     do    with,' in         my    eyes,          the        citizenship

8     question.           It       has       to    do        with       the       census          as

9     a    whole.

10            Q.              Ms.       Teramoto,                 you       started

11    earlier       in    your          answer          referencing                    that

12    there       were    things             in    the        message             that       you

13    can't       read.

14                            Do    you       understand                    that       it) is

15    the    government             lawyers             who        have       blocked

16    that    information                out?

17            A.              Between             all        the       lawyers,          I

18    mean,       you    know,          it's       not        -J-1            not       part       of

19    the    process          of    what          is    shown           or    what's          not.

20    I    know    that       they       follow              the       rules       and

21    regulations             of    what,' they               are       supposed             to

22    do..

23            Q               My    question                 is,       do    you

24    understand          that          it    is       the        government

25    lawyers       who       have       blocked              that          information




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                                                                                          Page 32

1     out    that          you       say    you       can't          read       on    here?

2                A.              Ifr that's            what          you       are    telling

3     me,    I       have       no    reason          to    believe             that          it's

4     not    true.

5                Q.              All       right.           When       Secretary                   Ross

6     says       "I'm       mystified             why       nothing             have          been

7     done j_n            response          to    my       months          old       request, "

8     why    did          Secretary          Ross          request             as    of

9     several             months       apparently                   before          May       2nd,

10    2017,          why    did       he    request             that       a    citizenship

      question             be    included             on    the       census?

                 A.              I    have       no    idea.           I       mean 7' as           you

      have       correctly             pointed             out,       this          was       in

14    May.           I    didn't.1 write              the       e-mail          and       I

15    wasn't             even          he    didn't             even       send       it       to

16    me.

17               Q               I    take       it    your          testimony                is

18    that       Secretary             Ross       never             told       you    the

19    reason             that    he    made       such          a    request?

20               A.              I    have       never          asked.

21               Q.              That's          not       my       question.                 Did       he

22    ever       tell       you?

23               A.              No.

24               Q.              Did       you    ever          learn          to    whom          he

25    made       that       request?




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                                                           Pl. objection: 611(a) -
                                                           nonresponsive




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1             A.                 Not       at       all.

2             Q.                 You       don't          deny          speaking             with

3     him?

4             A.                 I    think          you       asked          me       if    I

5     remember.              I       don't          remember             talking             to       him.

6                                This       is       a    different                question.

7                                You       don't          deny          speaking             with

8     him?

9             A.                 Given          this          e-mail,          I) would

10    assume       that          I    spoke          to       him,       but       I    don't

11    remember          ever          speaking                to    him.

12            Q                  All       right.              And       he    asks

13    withdrawn.

14                               He    says          that          he    had       sent          an

15    e-mail       to    Secretary                   Ross          and    he       attaches             it

16    here)        You       see       that,             correct?

17            A.                 Well,          I    see       his       e-mail             to    me

18    says    "Below             is    the          e-mail          that       I       sent       to

19    Secretary          Ross. "

20            Q.                 Okay.

21            A.                 So    I    assume             however             this          is

22    produced,          it          would          have       been       this          e-mail.

23            Q.                 All       right.              And       one       of       the

24    things       that          the       e-mail             that       Kris          Kobach

25    forwards          to       you,       one          of    the       things             in    it    is




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                                                                                          Page 42

1     the    statement                "It       is    essential                that       one

2     simple       question                be    added          to    the       upcoming

3     2020    census, "               t hat's         the       first          sentence          of

4     the    second             paragraph             of    this          forwarded

5     e-mail;          do       you       see    that?

6             A.                 The       second          --    the       first

7     sentence          of       the       second          paragraph.) that                 Kris

8     Kobach       sent          to,       I    believe          it       is    Secretary

9     Ross,       but       I    can't          say    his      eg        there       is    no

10    e-mail       address                --    says       "It       is    essential

11    that    one       simple             question             be    added          to    the

12    upcoming          2020          census. "

13            Q                  All       right.           When          you    spoke          with

14    Kris    Kobach,                didn'_ti he           talk       to       you    about

15    adding       a    citizenship                   question             to    the

16    census?

17            A.                 Again,          I    have       no       recollection

18    ever    speaking                to       him.

19            Q.                 Who       did       you    understand                Kris

20    Kobach       to       be       at    the       time?

21            A.                 I    had       no    idea.

22            Q.                 Do       you    typically                set    up

23    meetings          with          the       Secretary             or       calls       with

24    the    Secretary                to       people                with       people          you

25    have    no       idea          who       they    are?




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1             A.                 You       asked       me,          sir,       if    at    the

2     time (if         I    knew       who       Kris          Kobach          was,       and       I

3     said    I    didn't. '

4             Q.                 Correct.              I       have       asked       you       a

5     different             question             now.

6             A.                 Okay.           Could          you       please          repeat

7     it?

8             Q                  My    question                is,, would            you

9     typically            Iset       up    a    call          for       the    Secretary

10    with    somebody                who       you    didn't             know       anything

11    about       who       they       were?

12            A.                 Well,          no.

13            Q.                 Why       did    you          do    so    on       this

14    occasion?

15            A.                 Here       it    looks             as    though          he

16    forwarded             to    me       and    told          me       who    he    was.

17            Q.                 Okay.           And       why       did       you    set       up      a

18    call    with          him       with       the       Secretary?

19            A.                 At    this       point             in    time,       I    don't

20    remember.

21            Q                        had       to    do       with       the

22    citizenship                question,             didn't             it?

23            A.                 He    had       sent          an    e-mail

24    requesting             a    call,          and       I    don't          remember,

25    well,       it       looks       like       I    set          it    up,       so,    you




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1     know       -

2                Q.              Ms.       Teramoto,             my       question             is

3     simply,             the    call       that       you       set       up,       that       was

4     for    the          purpose          of    discussing                the

5     citizenship                question,             correct?

6                A.              It    was             I    would          have          set    up

7     the    call          because          somebody             had       asked          for       a

8     call       with       the       Secretary.

9                Q.              Didn't          you       set       it    up       for       the

10    S ecretary            in       part       because          it       was       about       the

11    citizenship                question?

12               A.              I    would       have          set       up    the       call

13    because             somebody          had       asked          for       the       call

14    with       the       Secretary.                 It    wouldn't                be

15    specifically                   because          of    a    certain             question.

16               Q.              You       wouldn't             set       up    a    call       for

17    anyone          who       asks       for    a    call          with       the

18    S ecretary,               would       you?

19               A.              If    there          is    somebody                who       wants

20    to    speak          to    the       Secretary             and       it       seems       like

21    it    is       something             that       he    would          want          to    talk

22    about,          then       I    would       set       it       up.

23               Q.              So    I    take       it       he    would,             in    your

24    mind,          he    would       have       wanted             to    talk          about

25    the    citizenship                   question?




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1             A.           I    would    have          set    up       the    call       if

2     somebody       like       this    would          have       asked       for    a

3     call    with    the       Secretary,             so    if    another

4     Secretary       of       State    had       asked       for       some       call

5     with    the    Secretary,          I     would         have       tried       to

6     facilitate       that.

7             Q            Wouldn't          you       have       told       the

      Secretary       what       the    topic          of    the       call    was?

9                          MS.    WELLS:           I    object' to            the

10    form.

11            A.           It    depends.

12            Q.           Wouldn't          you       have       told       him    what

13    the    topic    of       this    call       was?

14                         MS.    WELLS:           I    object) to            the

15    form.

16            A.           Somebody          would          have       told    him

17    what    the    topic       was.

18            Q.           In    this    time          period,          July       2017,

19    and    earlier,          hadn't) you         heard          talk       like

20    this    before       that       it) is      essential             that       the

21    citizenship          question          be    added          to    the

22    census?

23            A.           I    don      remember             anything

24    specific.

25                         Again'       sir,       I    was       not    involved




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1     in    the     day-to-day               workings             of    the       census.

2     I    think       that's       also          demonstrated                   by    the

3     fact     that      I    wasn't gm             I       don't       remember             ever

4     being       on    this       call,j and               it    doesn't             look

5     like     when      I    set       it    up,       I    had       any       intention

6     of    being       on    that       call.

7              Q.             In    his       e-mail             to    you,       Kris

8     Kobach        also      said       that       when          he    spoke          to    the

9     S ecretary,            he    did       so    at       the       direction             of

10    S teve      Bannon.

11                            Steve          Bannon          worked          in       the

12    White       House,          correct?

13             A.             Yes.

14             Q.             Did       you       ever       talk       to       Steve

15    Bannon        about         the    census?

16             A.             Never.

17             Q.             Did       you       ever       set       up    a    call       f   r

18    the    Secretary             and       Steve          Bannon          about       the

19    census?

20             A.             No.

21             Q.             Would          there          be    notes          of    the

22    S ecretary's            conversation                   with       Kris          Kobach?

23             A.             I    have       no    idea,             sir,` because              I

24    wasn't        part      of    that          call.

25             Q.             Were       there          --       but    as       his    chief




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1                                All        right.              You    have          read

2                                You        see,       I    take) it,               that

3     Mr.) Comstock                  has        written          the       Secretary             that

4     he    is    enclosing                 a    draft          memo       on       the

5     citizenship                question,                 and       then       that       e-mail

6     has    found         its            way    to    you       because             you    are       on

7     this       chain,          correct?

8                A.              I        believe          so.        Again,          I    know,

9     sir, (it's           not            your    fault,             but    I       find    it

10    just       tricky          to        follow          the       e-mail          chains,

11    because,          again,              here       we       have       an       e-mail       from

12    Earl       Comstock,                 and    it's,          you       know,

13    addressed            to        the        Secretary,             so       I    assume       he

14    e -mailed         it       to        the    Secretary.                    I    just) can't

15    see    it.

16               Q.              All        right.              In    any       eventl          you

17    respond         to     Mr.           Comstock,             CC    to       the

18    Secretary,             that           "Peter          Davidson                and    Karen

19    Dunn       Kelley          will           both       be    here       Monday.

20    Let's       spend          15        minutes          together                and    sort

                             W       II
21    this       out.

22               A.              Sure.

23               Q.              And        this       is       on    the       memo       on    the

24    citizenship                question?

25               A.              Sure.




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1             Q               So       it       appears          that       you       had       some

2     involvement             with          the       citizenship                question,

3     correct?

4             A.              If       setting          up       a    meeting          --       it

5     looks       like    I       set       up    a    meeting             for    them.'             I

6     don't       ever    remember                being          at    that       meeting.

7             Q.              All       right,          thank          you       for    that.

                              But       it       does       suggest          m* am          I

9     reading       it    right             when       it       suggests          that          you

10    are    going       to       participate                   in    this       meeting?

      "Let's       spend          15    minutes             together             and    sort

      this    out. "

                              MS.       WELLS:              Objection             to    form.

14            A.              No.

15            Q.              You       don't          read          that    as       saying

16    you    would       participate                   in       the    meeting?

17                            MS.       WELLS:              I    object          to    the

18    form.

19            A.              When          I    say    "let's, "            it       doesn't

20    mean    I    always          join          the    meetings.                 Let's

21    have    the    group             get       together!

22            Q.              All       right.              I 'm      sorry,          finish

23    your    answer.

24            A.              I    don't          remember CB                I    don't

25    remember       ever          participating                      in    this




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1     meeting.

2                Q.           If    there       was       such          a    meeting,

3     would       you       hay*    typically             put       it       on    your

4     calendar          if    you    were       participating?

5                A.           If    there       was       such          a    meeting?

6      o,    I    mean,       again,          again,          I    did       not

7     participate             in very          many       census             meetings          at

8     all.

9                Q.           Is    it    your       testimony: that                     you

10    did    not       participate             in    this          meeting?

11               A.           My    testimony             is       that       I    don't

12    remember          being       in    a    meeting             with       Peter

13    Davidson          and    Karen          Dunn       Kelley             specifically

14    talking          about       the    census          memo.

15               Q.           Do    you       have       an       understanding                as

16    to    why       this    is    coming          to    you       if       you    have       no

17    involvement             with       the    citizenship                   question?

18               A.           Sure.           People          CC    me       on    things.

19               Q.           Why    are       you       the       one       setting

20    the    meeting?

21               A.           Probably          because             I       said    people

22    should          get    together          and       discuss             it.

23               Q.           Why    do       they       need       you       to    do

24    that?           Why    can't       they       do    that          without          you?

25               A.           I'm    sure       they          can.




            REDACTED
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1                Q.              You    agree          that       someone             would

2     have       had       to    forward          Earl       Comstock's

3     original             e-mail       to    the       Secretary                about          this

4     to    you       for       you    to    be       setting          up    the

5     meeting?

6                A.              Somebody             would       have       had          to

7     forward         =         I'm    sorry,) can            you       say          that

8     again?

9                Q.              Yeah.        For       you       to    be       setting             up

10    this       meeting          and       for       you    to    have          a    copy       of

11    Earl       Comstock's             e-mail          to    the       Secretary

12    about       the       citizenship                question             memo,

13    someone             would       have    had       to    forward                you       that

14    e-mail?

15               A.              Sir,       that's          the    exact             thing       I

16    was    telling             to    you                         is       that          the    way

17    these       are       laid       out,       I    know       it    is       not       your

18    fault,          ieris       just       confusing.                 I    don't             know

19    if    it    was       forwarded             or    if    I    was       CC'd          on    it.

20                               And    I    can't          tell,       you          know,

21    who    •        I    mean]       it    says       that       it       is       what       Earl

22    Comstock             wrote,       but       I    don't       see       who          he    sent

23    it    to,1 so         I    share       your       frustration.

24               Q.              You    don't          deny       getting             a    copy

25    of    Earl          Comstock's          e-mail          to       Secretary




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1     Ross,       do    you?

2             A.              Again,       from          what             I       can    see

3     here,       it    looks       as    though             I    was             either

4     forwarded          or    CC'd       it.
                                            4        I       don't                know.           I'm

5     guessing          like       you    are,       sir.I

6                             My    question             was          a       little          more

7     specific.

8                             You    don't       deny             receiving                   a       copy

9     of    Earl       Comstock's          e-mail                at       the       bottom             of

10    that    page       -

11                            MS.    WELLS:              I       object             to       the

12    form.

13            Q.              --    saying       that             he          has       got       a

14    memo    for       the    Secretary             about                the

15    citizenship             question?

16                            MS.    WELLS:              Objection                      to    form.

17            A.              My    best    guess,                sir,             is    that          it

18    was    sent       to    my    e-mail.

19            Q.              Thank       you.

20                            Let's       mark       this             as          Teramoto

21    Exhibit          No.    5.     It    is    a       two -page                  document

22    Bates       stamped          1411    and       1412.

23                            (Teramoto          Exhibit                      5    marked             for

24    identification. )

25            Q               All    right.              You          have          in       front




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 1    of     you       what       has         been      marked            as     Exhibit               5.

 2                                My      first         question                is    going            to

 3    go     to    what       is         on    the      second            page,            that        is

4     the     first          e-mail            in     the         thread,            which         says

 5    it     is    sent       from            Peter            Davidson          August            29,

 6    2017,        to     Israel              Hernandez,                 Earl        Comstock,

 7    James        Uthmeier,                  CC'd         to     you,      and       it        says

      "The        Secretary               asked            to     set     up     a    briefing

 9    on     some       of    the         legal         questions                he        is

10    concerned              with.        "       The          subject          is    the

11    Census.             And       it        goes      on.

12                                Do      you        know         why     this        was         CC'd

13    to     you?

14                A.              Sir,         can         I     read     the        e-mail,

15    please?

16                Q.              Sure.

17                A.              Thanks.

18                                 (Witness             perusing                document.              )

19                A.              Okay.              Could         you      please              repeat

20    your        question,               sir?

21                Q.              Do      you        know         why     this        was         CC'd

22    to     you?

23                A.              Probably                 for     situational

24    awareness              or     seeing            if         when     he     had        time           on

25    his     calendar.




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                                                                      Pl. Objection -
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 1    I 'm   sorry,          a       citizenship                   question             to    the

 2    census?

 3                               MS.       WELLS:              I    object             to    form.

4             A.                 Did       I       learn       throughout                   2017?

 5            Q.                 During             2017.

6             A.                 It       is       hard    for       me       to       say    very

 7    interested.                    It    clearly             was       a    topic          that

      had    come          up.

 9            Q.                 Did       you       learn          that          it    was       a

10    matter          of    importance                   for       him?

11            A.                 I    don't          know          how       to    engage

12    matter          of    importance.                    There             is    a    lot       of

13    things          that       are       important                to       him.

14                               The       budget          on       census,             I

15    remember             that       being          extremely                important                to

16    him.        I    remember                •

17            Q.                 Wasn't             the    --       I'm       sorry,          go

18    ahead.

19            A.                          spending             time          trying          to

20    figure          out    how          we       are    going          to       ramp       up       the

21    employment             for          census.                   remember                those"

22            Q                  Wasn't             the    citizenship                      question

23    important             to       Secretary             Ross?

24                               MS.       WELLS:              I    object             to    the

25    form.




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1              A.              Very       limited          involvement.

2              Q.              Didn't          you    have       involvement                on

3     the     citizenship                question          on    or    about

4     S eptember             16,       2017,1 and      isn't          that       why    he

5     is    sending           you       this    e-mail?

6                              MS.       WELLS:        I    object          to    the

7     form.

8              A.              No.        Again,       as       I've    said,          I'm

9     copied        or       sent       things       for    my       situational

10    awareness.               I       don't    know       if    receiving             an

11    e -mail       constitutes                being       involved.

12             Q.              And       you    did    nothing          with

13    respect           to    the       citizenship             question          in    this

14    t ime    frame?

15                             MS.       WELLS:        Objection,                form,

16    asked     and          answerec0

17             A.              I       don ' t' remember             receiving          this

18    e -mail.           I    don't       remember          reading          this

19    e -mail.           And       I    certainly          don't       recall          ever

20    having        a    discussion             specifically                on    this

21    e -mail       train          with    Earl_ Comstock               around

22    S eptember.

23             Q.              You       didn't       ask       Mr.    Comstock

24    what's        the       latest       on    the       citizenship

25    question,              what's       DOJ    doing          on    the




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 1             A.              I    believe          so,       but    I    don't

 2    remember.

 3             Q               And       the    call          was    about       the

 4    citizenship              question,             wasn't          it?

 5                             MS.       WELLS:           I    object       to    form.

 6             A.              I    don't       remember.

 7             Q.              Let's          have    this          marked       as

 8    Exhibit           9.

 9                             (Teramoto             Exhibit          9    marked       for

10    identification. )

11             Q               For       the    record,             Exhibit       9    is    a

12    two -page          exhibit          Bates       stamped             2651    and       52,

13    the     top       of    which       is    headed          with       an    e-mail

14    from     Danielle             Cutrona          to       Wendy       Teramoto,

15    "Re:     Call. "

16             A.              Would          you    like       me    to    read

17    sir?

18             Q.              Let       me    ask    you       a    question          and

19    then     you       can       read       whatever          you       need    to    to

20    answer        it.

21                             Ms.       Teramoto,             you    will       see    at

22    the     beginning             of    this       e-mail,          at    the       bottom

23    of     2652,       is    Mr1       Gore's       e-mail          introducing

24    you,     and       then       at    the       very       bottom       --    and

25    there        is    an    e-mail          thread.




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1                             At    the       very          bottom         of    2651,          he

2     says    to       you    "By       this       e-mail,            I    introduce

3     you    to    Danielle             Cutrona             from      DOJ.        Danielle

4     is    the    person          to    connect             with         about       the

5     issue       we    discussed             earlier            this       afternoon. "

6                             Take       a    look          at   the       e-mail.              The

7     question          I    have       for       you       is,l a_       take    it       you

      spoke       with       Acting          Assistant)            Attorney
9     General          Gore?

10                            MS.       WELLS:              I 'm going           to    object

11    to    the    form.

12                            (Witness             perusing               document. )

13            A.              Okay.           I 'm      sorry,            sir,    what          was

14    your    question?

15            Q.              My    question                was,      I    take       it    you

16    spoke       to    Assistant             Attorney             General            Gore?

17                            MS.       WELLS:              Objection            to    form.

18            A.              I    don't          remember            speaking             to

19    him.

20                            The       e-mail          that       he      sent       to    me

21    said    Danielle             is    the       person          to      connect          with

22    about       the       issue       we    discussed               earlier          this

23    afternoon.              So    I    have          no    reason         to    believe

24    that    I    did       not    talk          to    him,       but      I    don't

25    remember          speaking             to    him.




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 1               Q.              Understood.                    And    the       issue       that

 2    you    spoke          with       Assistant                Attorney          General

 3    Gore       about,          that       was       about       the       citizenship

4     issue;          is    that       correct?

 5                               MS.       WELLS:           I    object          to    the

6     form.

 7               A.              Again'       I       don't       remember

 8    don't          remember          speaking             to    John       Gore.

 9               Q               Higher       up       on       the    page,

10    September             17,       2017    at       12:10,          Ms.       Cutrona

11    e -mails         you       that       "the       Attorney             General          is

12    available             on       his    cell, "         and       then       she       goes

13    on    to       say    "the       AG    is       eager       to    assist. "

14                               Wasn't       that          in    connection                with

15    the    citizenship                   question?

16                               MS.       WELLS:           I    objecf) to            the

17    form,          lack    of      foundation.

18               A.              I    mean,       I    didn't                I    didn't

19    write          the    e-mail.           You          would       have       to       ask

20    Danielle             Cutrona.

21               Q               You       were       the       recipient             of    the

22    e-mail;          is    that          correct?

23               A.              Well,       it       says       to    me.        Again, 11

24    can't          see    how       these       e -mails            are    sent          to,

25    but    I       have    no       reason          to    believe          I    didn't




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1     receive           this       e-mail.

2              Q                  It says "Wendy, " comma, at the
3     beginning              of    the       e-mail,             right?           You    are

4     the    recipient?

5              A.                 Again,          I    agree       with       you,       I'm    a

6     Wendy.            It    is    just          frustrating                that       you

7     can't        see       who    is       actually                   these          are

      addressed              to.        I    have       no       reason       to       believe

9     I    didn't        receive             thii7!

10             Q.                 All       right.           And       in    this       period

11    of    time,        September                18th,          2017,       you       would

12    have     been          chief          of    staff          for    the       Secretary

13    of    Commerce,              right?

14             A.                 Yes.)

15             Q.                 And       you       knew       that       the    AG    was        602

16    e ager       to    assist             with       respect          to    the

17    citizenship                 question,             didn't          you?

18                                MS.       WELLS:           I    object          to    form

19    mischaracterizes                       her       testimony.

20             A.                 You       would       have       to       ask    Danielle

21    Cutrona,           because             she       is    the       one    who       wrote

22    this     e-mail.

23             Q                  Didn't          you       learn       that       the

24    Secretary              --    I'm       sorry,          didn't          you       learn

25    that     the       Attorney                General          of    the       United




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1     exhibit          Bates       stamped                2528.           It    is    a    single

2     page       and    it    is       an    e-mail             from       Wilbur          Ross

3     to    Peter       Davidson,                "Subject:                Census. "

4                             It       contains             a    single          line       of

5     text       which       reads          as       follows:              "Wendy          and    I

6     spoke       with       the       AG    yesterday.                    Please          follow

7     up    so    we    can       resolve                this    issue          today.

8     WLR."

9                             Didn't             you       and    Secretary                Ross

10    speak       to    the       Attorney                General          on    September

11    18th,       2017?

12                            MS.       WELLS:              I    object          to       form.

13               A.           I    don't             remember             being       a    part

14    of    that       call       at    all.

15               Q.           Do       you       deny       being          part       of    the

16    call?

17               A.           I    said          I       don't    remember                being       a

18    part       of    that       call'              I    remember             calls       with

19    different          cabinet             members,                 I    don't          ever

20    remember          being          on    a       call       with       the       AG.

21               Q.           Can       you          think       of       any    reason          why

22    Mr.    Ross       would          get       this       wrong          just       a    day

23    after       the    call?

24                            MS.       WELLS:              I    object          to       form.

25               A.           You       would             have    to       ask       him,    but




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1     through                          It    includes          much    of    the

2     e-mail       chain          between          Mr.    Gore,

3     Ms.    Teramoto,             and       Ms.    Cutrona          that    we    have

4     seen    before.

5                             My       question          is    going    to    have       to

6     do    with    the       e-mail          at    the       very    top    of    this

7     chain    in       which,'I someone             who       the    government

8     tells    me       is    you       e -mails         Mr.    Gore    and       says

9     "Hi.     AG       and       Sec       spoke.        Please       let    me    know

10    when    you       have       a    minute. "

11                            You       understand             that    you    are       the

12    sender       of    this          e-mail,       correct?

13            A.              I    mean,       I    can't       see    the    address

14    either.

15            Q.              The       government             has    represented

16    that    you       are       the       sender.)

17            A.              Okay.           Then       okay.

18            Q.              Do       you    accept          their

19    representation?

20            A.              Sure.

21            Q.              So       when    you       write       "Hi.     AG    and

22    Sec"    --    first          of       all,    Sec       means    Secretary

23    Ross,    right?

24            A.              Sure.

25            Q.              So       "the    Attorney          General          and




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1     Secretary          spoke.        Please             let    me    know       when

2     you    have    a    minute. "

3                          So    certainly                you    know       that       the

4     Attorney       General       Sessions                and       Secretary

5     Ross    had    a    conversation                because          you       are

6     reporting          that,    correct?

7                          MS.    WELLS:              I    object) to            the

8     form.        But    go    ahead.

9             A.           My    e-mail          said          the    AG    and

10    Secretary          spoke,    so       I    must          have    known          that

11    they    spoke.

12            Q.           And    then          you       say    "Please          let      me

13    know    when       you    have    a       minute. "

14                         Did    you       call          --    didn't       you       call

15    Assistant          Attorney       General                John    Gore?'

16            A.           Again,       to       this          day,    again,          I

17    don't    ever       remember          speaking             to    him       on    the

18    phone.

19            Q.           All    right.              But       certainly             as

20    the    author       of    this    e-mail,                you    would       read

21    this    that       way,    that,          in    other          words,       you

22    would    read       this    e-mail             as    saying          you    want       a

23    call    with       Assistant          Attorney             General          Gore?

24                         MS.    WELLS:              Objection             to    form.

25            A.           Again,       this          is,       you    know,          an




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1                                 MS.       WELLS:           I    object       to    the

2     form.

3                 Q.              You       don't       say       to    somebody,          get

4     me     that       letter          from          Congress?

5                                 MS.       WELLS:           I    object       to    the

6     form.            Go       ahead.

7                 A.              There          are    many       important

8     letters           and       correspondence                   throughout             all

9     of     the       different             departments                in    Commerce.

10    I 'm    not       physically                able       to    read       every

11    single           one,       I'm       just       not,       sir.

12                Q.              I    believe          that.           But    when       you

13    hear        that          members          of    Congress             have    written

14    a    letter           accusing             the    Secretary             of    not

15    being        candid             with       them,       you       don't       say    to

16    somebody              I    would       like       to       see    a    copy    of    that

17    letter?

18                A.              No.

19                Q.              Have       I    got    that          right?        No?

20                                MS.       WELLS:           I    object       to    the

21    form.            Asked          and    answered.

22                A.              That's          correct.

23                Q.              It doesn't appear to be showing
24    up     on    the          transcript.'             I       heard       you    to    say

25    no.         Did       I    hear       that       right?




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1     recall?

2              A.              I'm       saying          I    don't       remember

3     having        any       direct          conversations                   with       the

4     Secretary           on       the    question.

5              Q               Do    you       believe             that       you    had

6     some?

7              A.              Again'          I    don't          remember          having

      any    direct           conversations                   with       him    on       the

9     citizenship              question.

10             Q               My    question                is    a    little

      different.               I'm       not       asking          for    your       memory

      now.

                               I'm       asking          for       whether          you

14    think        you    had       some,          for       examplej               can

15    think        of    lots       of    conversations                   that       I    have

16    had    with        my    spouse,ligith                  my       childrenl          on

17    certain           subjects,             but    I       can't       remember          the

18    conversations,                 I    just       know          I    had    them.

19                             So    I 'm      asking             in    that    context,

20    do    you     believe          you       had       conversations

21    wi the

22             A.              I    don't          think          we    did.

23             Q.              Let       me    just          finish       the

24    question.

25             A.              I'm       sorry.




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 1    about       it,       but    I    wasn't            part          of          the

 2    t ransition            team,       so       I       wouldn't                  know.

 3             Q.             If       someone             --      why          Marc       Neumann?

4     Let    me     come      back       to       him.

 5             A.             Sure.           I       think            as       I    stated

 6    before,          Marc       Neumann             was         part          of) the

 7    t ransition            team       who       used            to    work) at

      think       he    worked          at    Census,                  so       he    was       the

 9    one    who       would       brief          the         Secretary                   just     on

10    census        during         the       transition.

11             Q.             In       that       summer               of       2017       and

12    going       to    September             when            we       saw          those

13    e -mails         between          you       and         Assistant                   Attorney

14    General          Gore       and    the          other            e -mails            on    those

15    chains,          if    someone          had         come          to          you    then       and

16    said     Ms.      Teramoto,             I       need II               I       have    got       an

17    important             issue       that          I    want         to          talk    to     you

18    about       regarding             adding            a       citizenship

19    question,             who    would          you         have          put       them       in

20    t ouch      with?

21                            MS.       WELLS:                I    objec              to    the

22    form.

23             A.             Well,               mean,            I    think             I (did      put

24    them     in      touch       with       Izzy            Hernandez.'

25             Q.             And       what          was         his       position?




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